          Case 3:17-cv-05769-RJB Document 102 Filed 07/18/18 Page 1 of 4




1                                                                       The Honorable Robert J. Bryan

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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7
                                        AT TACOMA
8
     UGOCHUKWU GOODLUCK
9    NWAUZOR, FERNANDO AGUIRRE-                        No. 17-cv-05769-RJB
     URBINA, individually and on behalf of all
10   those similarly situated,                         DECLARATION OF R. ANDREW
                                                       FREE
11
                                     Plaintiffs,
12
            v.
13
     THE GEO GROUP, INC., a Florida
14   corporation,
15
                                    Defendant.
16

17                            DECLARATION OF R. ANDREW FREE

18          Pursuant to 28 U.S.C. § 1746, I, R. Andrew Free, hereby declare under penalty of
19   perjury that the following is true and correct:
20
            1. Plaintiffs attached four Exhibits to Plaintiffs’ Opposition to Defendant’s Motion to
21             Dismiss the First Amended Complaint:

22                  a. Exhibit A – GEO’s Second Supplemental Response to Plaintiffs’ Request
                       for Admission Number 2 in Menocal v. The GEO Group, Inc., No. 1:14-cv-
23                     02887-JLK (D. Colo.), provided July 21, 2017.
24
                    b. Exhibit B – Excerpts from agency records provided by U.S. Immigration
25                     and Customs Enforcement in response to a Freedom of Information Act
                       assigned tracking number ICE 2013FOIA32547, which were disclosed
26


      DECL. OF R. ANDREW FREE                                 L a w O f f ic e o f R . A nd r e w Fr e e
                                                                          P.O. Box 90568
      (17-cv-05769-RJB ) - 1                                          N a s h v i l le , TN 3 7 2 0 9
                                                           ( 8 4 4 ) 3 2 1 -3 2 2 1 x 1 ( 6 1 5 ) 8 2 9 -8 9 6 9
        Case 3:17-cv-05769-RJB Document 102 Filed 07/18/18 Page 2 of 4




1                   during litigation in Stevens v. U.S. Dep’t of Homeland Security, No. 1:14-
                    cv-3305 (N.D. Ill. Filed May 6, 2014).
2
                c. Exhibit C – An excerpt of the Detainee Handbook GEO provided detained
3                  immigrants at is LaSalle Detention Facility in Jena, Louisiana in 2014 or
4                  2015.

5               d. Exhibit D – Hearing Transcript from April 24, 2018 motion hearing before
                   this Court.
6
         2. Each of these Exhibits is a true and accurate copy of the original record provided,
7           except with respect to the highlights to portions of Exhibit A, which were applied
            by counsel.
8

9        3. Plaintiffs submit Exhibits A-C in support of their contention that the additional facts
            averred by GEO’s counsel—many of which are unsworn and unsupported by
10          documentary evidence—are disputed and will be challenged in the course of
            discovery.
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12
         DATED this 18th day of July, 2018.
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14
                                                    LAW OFFICE OF R. ANDREW FREE
15

16
                                                    /s/ R. Andrew Free___________________
17                                                  Counsel for Plaintiffs

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     DECL. OF R. ANDREW FREE                                L a w O f f ic e o f R . A nd r e w Fr e e
                                                                        P.O. Box 90568
     (17-cv-05769-RJB ) - 2                                         N a s h v i l le , TN 3 7 2 0 9
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          Case 3:17-cv-05769-RJB Document 102 Filed 07/18/18 Page 3 of 4




1                                  CERTIFICATE OF SERVICE

2           I certify that I caused to be served in the manner noted below a copy of the foregoing
     pleading on the following individual(s):
3

4
            Adam J Berger
5           SCHROETER GOLDMARK & BENDER
            810 3RD AVE
6           STE 500
            SEATTLE, WA 98104
7

8           Andrea D'Ambra
            NORTON ROSE FULBRIGHT US LLP (NY)
9           1301 AVENUE OF THE AMERICAS
            NEW YORK, NY 10019
10
            Charles A Deacon
11          NORTON ROSE FULBRIGHT US LLP (SAN ANTONIO)
12          300 CONVENT ST
            STE 2100
13          SAN ANTONIO, TX 78205

14          Mark Emery
            NORTON ROSE FULBRIGHT US LLP (DC)
15
            799 9TH STREET
16          STE 1000
            WASHINGTON, DC 20001
17
            R Andrew Free
18          LAW OFFICE OF R. ANDREW FREE
            PO BOX 90568
19
            NASHVILLE, TN 37209
20
            Lindsay Halm
21          SCHROETER GOLDMARK & BENDER
            810 3RD AVE
22          STE 500
            SEATTLE, WA 98104
23

24          Joan K Mell
            III BRANCHES LAW PLLC
25          1019 REGENTS BLVD STE 204
            FIRCREST, WA 98466
26


      DECL. OF R. ANDREW FREE                                L a w O f f ic e o f R . A nd r e w Fr e e
                                                                         P.O. Box 90568
      (17-cv-05769-RJB ) - 3                                         N a s h v i l le , TN 3 7 2 0 9
                                                          ( 8 4 4 ) 3 2 1 -3 2 2 1 x 1 ( 6 1 5 ) 8 2 9 -8 9 6 9
        Case 3:17-cv-05769-RJB Document 102 Filed 07/18/18 Page 4 of 4




1        Meena Pallipamu Menter
         MENTER IMMIGRATION LAW PLLC
2        8201 164TH AVENUE NE, STE 200
         SEATTLE, WA 98052
3

4        Devin T Theriot-Orr
         SUNBIRD LAW PLLC
5        1001 4TH AVENUE
         STE 3200
6        SEATTLE, WA 98154
7
         Jamal N Whitehead
8        SCHROETER GOLDMARK & BENDER
         810 3RD AVE
9        STE 500
         SEATTLE, WA 98104
10

11

12       DATED:      July 16, 2018 at Nashville, Tennessee

13                                               /s/ R. Andrew Free
                                              ____________________________________
14                                            R. Andrew Free
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     DECL. OF R. ANDREW FREE                           L a w O f f ic e o f R . A nd r e w Fr e e
                                                                   P.O. Box 90568
     (17-cv-05769-RJB ) - 4                                    N a s h v i l le , TN 3 7 2 0 9
                                                    ( 8 4 4 ) 3 2 1 -3 2 2 1 x 1 ( 6 1 5 ) 8 2 9 -8 9 6 9
